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                                                                                ELECTRONICALLY FILED
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 9
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                             FOR THE COUNTY OF ORANGE
                                 LIMITED JURISDICTION
11

12
                                                     ) Case No. 30-201400746184 CL- NP- CJ C
                                                     )
13    MOSTAFAAHMEDALHANJOUR, .                       ) COMPLAINT FOR VIOLATION
                                                     ) OF ROSENTHAL FAIR DEBT
14                                                   ) COLLECTION PRACTICES ACT AND
      Plaintiff,
15                                                  ) FEDERAL FAIR DEBT COLLECTION
              vs.                                   ) PRACTICES ACT
16                                                  )
      MIDLAND CREDIT MANAGEMENT,                    ) (Amount not to exceed $10,000)
17
      INC.,                                         )
18                                                  )    1. Violation of Rosenthal Federal
      Defendant.                                    )       Fair Debt Collection Practices Act
19                                                  )   2. Violation of Fair Debt Collection
                                                    )       Practices Act
20

21
                                         I. INTRODUCTION
22
              1. This is an action for damages brought by an individual consumer for Defendant's
23

24'   violations of the Rosenthal Fair Debt Collection ·Practices Act, Cal Civ Code.§ 1788, et seq.

25    (hereinafter "RFDCPA") and the Fair Debt Collection Practices Act, 15 U.S.c. §1692, et seq.
26
      (hereinafter "FDCPA"), both of which prohibit debt collectors from engaging in abusive,
27
      deceptive, and unfair practices.
28




                                               Complaint - 1
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                                              II. PARTIES
 2·
              2.       Plaintiff, Mostafa Ahmed Alhanjour ("Plaintiff'), is a natural person residing in
 3
       Orange County in the state of California, and is a "consumer" as defined by the FDCP A, 15
 4
      U.S.C. §1692a(3) and is a "debtor" as defined by Cal Civ Code §1788.2(h).
 5

 6            3.       At all relevant times herein, Defendant, Midland Credit Management, Inc.

 7    ("Defendant"), was a company engaged, by use ofthe mails and telephone, in the business of
 8
      collecting a debt from Plaintiff which qualifies as a "debt," as defined by 15 U.S.C.§ 1692a(5),
 9
      and a "consumer debt," as defined by Cal Civ Code § 1788.2(f). Defendant regularly attempts
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11
      to collect debts alleged to be due another, and therefore is a "debt collector" as defined by the

12     FDCPA,15 U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).
13
                                      III. FACTUAL ALLEGATIONS
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              4.       At various times prior to the filing of the instant complaint, including within one
15
      year preceding the filing of this complaint, Defendant contacted Plaintiff in an attempt to
16

17     collect an alleged outstanding debt.

18            5.       On or about March, 2014, Plaintiff began receiving numerous calls from
19
       Defendant.     Defendant often called Plaintiff multiple times in one day, generally calling
20
       Plaintiff in the morning, afternoon, and evening in one day.
21
              6.       Plaintiff did not receive anything in writing from Defendant regarding the
22

23     account.     Further, Defendant did not notify Plaintiff of his right to dispute. or request

24    verification of the alleged debt.
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              7.       On or about March 10, 2014, Plaintiff sent a letter to Defendant notifying
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      .Defendant to stop calling him. Defendant continued to call Plaintiff after that letter.
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                                                   Complaint· 2
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       ·'   .

                    8.     DEFENDANT'S conduct violated the RFDCPA and FDCPA in multiple ways,
  2
            including but not limited to:
  3
                    a) Communicating with Plaintiff at times or places which were known or should
  4                    have been known to be inconvenient for Plaintiff (§ 1692c(a)(l »;
  5
                    b) Engaging in conduct the natural consequence of whiCh is to harass, oppress, or
  6                    abuse Plaintiff (§ 1692d»; and                  .

  7                 c) Causing Plaintiff's telephone to ring repeatedly or continuously with intent to
                       harass, annoy or abuse Plaintiff(§ 1692d(5».
  8

  9                 d) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal
                       Civ Code § 1788.1l(d»;
 10

 11
                    e) Communicating, by telephone or in person, with Plaintiff with such frequency
                       as to be unreasonable ahd to constitute an harassment to Plaintiff under the
 12                    circumstances (Cal Civ Code § 1788.11(e»; and

 13                 f) Failing to provide Plaintiff with the notices required by 15 USC § 1692g, either
 14
                       in the initial communication with Plaintiff, or in writing within 5 days thereof
                       (§1692g(a».
 15
                    9.     As a result of the above violations of the FDCPA and RFDCPA, Plaintiff
 16

 17         suffered and continues to suffer injury to PLAINTIFF'S feelings, personal humiliation,

 18         embarrassment, mental anguish and emotional distress, and DEFENDANT is liable to
 19
            PLAINTIFF for PLAINTIFF'S actual damages, statutory damages, and costs and attorney's
 20
            fees.
 21
                                    COUNT I: VIOLATION OF ROSENTHAL
 22
                                  FAIR DEBT COLLECTION PRACTICES ACT
 23
                    10.    PLAINTIFF reincorporates by reference all of the preceding paragraphs.
. 24

 25
                    II.    To the extent that DEFENDANT'S actions, counted above, violated the

 26         RFDCPA, those actions were done knowingly and willfully.

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                                                      Complaint - 3
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                                      PRAYER FOR RELIEF
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            WHEREFORE, ,PLAINTIFF respectfully prays that judgment be entered against
 3
      DEFENDANT for the following:
 4
                  A.      Actual damages;
 5
                  B.      Statutory damages for willful and negligent violations;
 6                C.      Costs and reasonable attorney's fees,            '
                  D.      For such other and further relief as may be just and proper.
 7

 8
                            COUNT II: VIOLATION OF FAIR DEBT
 9                            COLLECTION PRACTICES ACT

10          12.   PLAINTIFF reincorporates by reference all of the preceding paragraphs.
II

12
                                      PRAYER FOR RELIEF
13
            WHEREFORE, PLAINTIFF respectfully prays that judgment be entered against
14

15    DEFENDANT for the following:

16                A.      Actual damages;
17
                  B.      Statutory damages;
                  C.      Costs and reasonable attorney's fees; and,
18                D.      For such other and further relief as may be just and proper.

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20
                       PLAINTIFF HEREBY RE VESTS A T                l\ BY JURY

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                                              Complaint - 4
